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Shawn D. Jones, BASIC "
Plaintiff, Civil Ri t omplaint
V. | 1b SEP 98-43 19839
Jon Litscher, Secretary of Correction NW SA NEI LIPPY
Rebecca Kennedy, Education Director for New Lisbon Correction CLERK “ IG ee C=4 3 0
Individual and in their official capacities, 3
Defendants,

 

I. Introduction
1. This is a § 1983 action filed by plaintiff, Shawn D. Jones , a state prisoner, alleging violation

right protected by the first amendment to the constitution of the united states constitutes

cruel and unusual punishment prohibited by Eighth and fourteenth amendments.

lI. Jurisdiction & Venue
2. This is a civil action authorized by 42 U.S.C sections 1983 to redress the deprivation, under
color of state law, of right secured by the Constitution of the United States. Plaintiff claims for
injunctive relief are authorized by 28 U.S.C. and rule 65 of the Federal rule of civil procedure
and seek declaratory relief pursuant to 28 U.S.C. The court has supplemental jurisdiction

over plaintiff state law claims under 28 U.S.C. 1983.

HI. Plaintiff
3. Shawn D. Jones is presently confined in New Lisbon Correctional Institution and serving an
eighth year sentence and has been incarcerated since February 24, 2012. Scheduled for
release in September 3, 2019.
IV. Defendant
4. Jon Litscher, Secretary of Department of Correction he is legally responsible for the overall of
Operation of Department and each Institution under its jurisdiction, including Shawn D.

Jones.

5. | Rebecca Kennedy she is legally responsible for the overall of Operation of Education Director

for New Lisbon Correction.

6. | Each defendant is sued individually and in his or her official capacity. At all-time mentioned

in this complaint each defendant acted under the color of state law.

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V. Facts

“Upon information and belief’. I, find that the Department of Correction’s
Administrative Rules and Regulations are promulgate in §227.10(2). However
there’s conflict with well-established law; being State Statute and Federal

Constitution.

“Upon information and belief’. According to Federal Constitution inmate not
required attending general Education program. Defendants have no constitutional

right to in enroll inmates’ general educational program.

Ms. Kennedy, telling me that it is mandatory for inmates in Wisconsin Department of
Correctional to take these Educational Programs when we choose or choose not to,
then they state that I will be placed in voluntarily unassigned for refusing to
participate. I feel that this is a form of punishment because when choosing not to

participate in programs and D.A.] states programs is voluntary.

This statement was made by Ms. Kennedy; the letter is in response to request you
submitted regarding your educational need within the confines of the Wisconsin
Department of Corrections. In November 2015, D.A.J enacted a Mandatory Education

policy statewide-309.55.04.

In summary, this policy requires inmates in Wisconsin without a verified high school
credential to participate in GED programming. NLCI does not have the jurisdiction to
override D.A.I policy. If you would like to enroll in GED classes, please contact the
Education Department. If you elect not to participate, you will be placed in VUNA

status.

D.A.I policy, Inmates assigned an academic primary need who refusals to attend
school shall be placed on voluntary unassigned status and shall not be eligible for an
inmate work assignment or compensation and refusals shall be documented on DOC-

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All refusals shall be recorded in WICS, COMPAS, and inmate Education file. Request to

be placed on INVUNA status after 90 day of being on VUNA status in compliance with

D.A.I policy 309.00.01. This does not apply to inmates who have a primary academic

need.

VI. Exhaustion

Plaintiff, Jones’s used the prisoner grievance procedure available at Wisconsin State prison
to try and solve the problem and also filed numerous complaints at law pursuant to Wis Stat
§301.29 (3) article 1 section 4 of Wisconsin Constitution. I asked the Secretary of
Department of Corrections to conduct a full investigation into issues regarding compel

inmates take Educational Programs.

VII. Legal Claims
“Upon information and belief’. First, prisoners, like non-prisoners do not have a
constitutional right to educational in the United States. The Supreme Court has stated that
“education, of course, is not among the right an afforded explicit protection under our federal

Constitution. Nor do we find any basis for saying it is implicitly so protected.

Since there is no fundamental or constitutional right to education, there is no constitutional
basis to challenge the failure to provide adequate educational program. Without a
constitutional right to education, there is certainly none to rehabilitation, which could be

another way to request education access.

The eighth amendment, which permits inmate to bring causes of action when prison
conditions and practices constitute “cruel and unusual punishment, could be a way for

making a constitutional challenge.

 

Defendant, Jon violated Plaintiff, Jones right by referring my complaints back to the
institution he has authority to address these issues at hand; however he refuses to do

so. “All time defendants Acts under the color of law.”

Defendant, Kennedy violated Plaintiff, Jones right by compel me to enroll in
educational program\Whew, informed defendant, Kennedy she don’t have a
constitutional right in enroll me educational program. “All time defendant Acts under

the color of law.”

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Upon information and belief’ The Seventh Circuit ‘held’ there is no constitutional mandate to
provide educational, rehabilitative, or vocational programs absence of conditions that rise to
a violation of the eighth amendment. Garza V. Miller, 688 F.2d 480, 488-86 (7% Cir.1982) see
Also Zimmerman V. Tribble 226 F.3d 568, 571(7% Cir.2000).

The eighth amendment, however, does not compel prison administrators to provide general
Educational programs for inmates. See Rhodes, 452 U.S at 348; Madyun v. Thompson, 657
F.2d 868, 874 (7% Cir.1981).

Further, liberty interest created by a state are “generally limited to freedom from restraint
which impose atypical and significant hardship on inmate in relation to the ordinary
incidents of prison life. Nor does Wisconsin Statute have no liable interest in Educational

Program.

Thus by providing prisoners access to vocational program and / or prison jobs, the State of
Wisconsin cannot be said to have created a liberty interest in participation in such programs
because denial of these opportunities does not impose atypical and significant hardship on
prisoner in relation to ordinary prison life.

VIN. RELIEF
Wherefore, Plaintiff Respectfully Prays Court Enter Judgment Granting Plaintiff

1 Granting plaintiff, Shawn D. Jones declaration that the acts and omissions described
herein violated Shawn D. Jones right under the constitution and law of the United States.
Compensatory damages in the amount of $ against each defendant's.

Declare that defendant’s violated plaintiff, Shawn D. Jones eighth amendment right under
the United States Constitution try to in enroll him in Educational program.
Plaintiff's costs in this suit.
5 Any additional relief this court deems just.
Punitive damages in the amount of $___against each defendant.

 

 

 

I Declare Under Penalty Of Perjury That the Forgoing Is True and Correct.

September 23, 2016
Respectfully Submitted

Shawl ders

Shawn D, Jones #258533

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